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                                                    Main Document    Page 1 of 5

Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
Nos., State Bar No. & Email Address
JOHN-PATRICK M. FRITZ (State Bar No. 245240)
LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P
2818 La Cienega Avenue
Los Angeles, California 90034
Telephone: (310) 229-1234
Facsimile: (310) 229-1244
Email: JPF@LNBYG.COM




     Individual appearing without attorney
     Attorney for: Debtor

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:                                                                      CASE NO.: 2:22-bk-10266-BB
                                                                             CHAPTER: 11
Escada America LLC
                                                                                        STATEMENT REGARDING
                                                                                         CASH COLLATERAL OR
                                                                                    DEBTOR IN POSSESSION FINANCING
                                                                                        [FRBP 4001; LBR 4001-2]

                                                                             DATE:                 01/20/2022
                                                                             TIME:                 10:00 a.m.
                                                                             COURTROOM:            1539
                                                                             ADDRESS:              255 East Temple Street
                                                              Debtor(s).                           Los Angeles, CA 90012



 Secured party(ies): Eden Roc International, LLC; Mega International, LLC; Escada Sourcing and Production, LLC


The Debtor has requested the approval of either (1) a motion for use of cash collateral, or postpetition financing, or both,
or (2) through a separately-filed motion, a stipulation providing for the use of cash collateral, or postpetition financing, or
both. The proposed form of order on the motion or the stipulation contains the following provisions or findings of fact:
                                                                                                                           Page           Line No.
             Disclosures Tracking FRBP 4001(c)(1)(B)(i) through (xi) and (d)(1)(B)
                                                                                                                           No.:         (if applicable)
          (i): “[A] grant of priority or a lien on property of the estate under § 364(c) or (d)”
          (ii): “[T]he providing of adequate protection or priority for a claim that arose before the
          commencement of the case, including the granting of a lien on property of the estate
          to secure the claim, or the use of property of the estate or credit obtained under § 364
          to make cash payments on account of the claim”
                   Cross-collateralization, i.e., clauses that secure prepetition debt by postpetition
                   assets in which the secured party would not otherwise have a security interest
                   by virtue of its prepetition security agreement or applicable law
                   Roll-up, i.e., provisions deeming prepetition debt to be postpetition debt or using
                   postpetition loans from a prepetition secured party to pay part or all of that
                   secured party’s prepetition debt, other than as provided in § 552(b)
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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             Grant a replacement lien in an amount in excess of the dollar amount of the lien
             on cash collateral as of the petition date
       (iii): “[A] determination of the validity, enforceability, priority, or amount of a claim that
       arose before the commencement of the case, or of any lien securing the claim”
       (iv): “[A] waiver or modification of Code provisions or applicable rules relating to the
       automatic stay”
               Automatic relief from the automatic stay upon occurrence of certain events.
       (v): “[A] waiver or modification of any entity’s authority or right to file a plan, seek an
       extension of time in which the debtor has the exclusive right to file a plan, request the
       use of cash collateral under § 363(c), or request authority to obtain credit under § 364”
       (vi): “[T]he establishment of deadlines for filing a plan of reorganization, for approval of
       a disclosure statement, for a hearing on confirmation, or for entry of a confirmation
       order”
       (vii): “[A] waiver or modification of the applicability of nonbankruptcy law relating to the
       perfection of a lien on property of the estate, or on the foreclosure or other
       enforcement of the lien”
       (viii): “[A] release, waiver, or limitation on any claim or other cause of action belonging
       to the estate or the trustee, including any modification of the statute of limitations or
       other deadline to commence an action”
       (ix): “[T]he indemnification of any entity”
       (x): “[A] release, waiver, or limitation of any right under § 506(c)”
              The granting of any lien on any claim or cause of action arising under § 506(c)
       (xi): “The granting of any lien on any claim or cause of action arising under §§ 544,
       545, 547, 548, 549, 553(b), 723(a), or 724(a)”
                                                                                                                        Page           Line No.
                        Additional Disclosures Required by LBR 4001-2
                                                                                                                        No.:         (if applicable)
       With respect to a professional fee carve out, disparate treatment for professionals
       retained by a creditors’ committee from that provided for the professionals retained by
       the debtor
       Pay down prepetition principal owed to a creditor
       Findings of fact on matters extraneous to the approval process




 01/18/2022         John-Patrick M. Frirz                                            /s/ John-Patrick M. Fritz
 Date                      Printed Name                                                     Signature




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 1                                 PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is 2818 La Cienega Avenue, Las Angeles, CA 90034
 3
     A true and correct copy of the foregoing document entitled Statement Regarding Cash Collateral or
 4   Debtor in Possession Financing will be served or was served (a) on the judge in chambers in the form
     and manner required by LBR 5005-2(d); and (b) in the manner stated below:
 5
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On January 18, 2022, I checked the CM/ECF docket for this bankruptcy case
 7   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
     to receive NEF transmission at the email addresses stated below:
 8
                                                                             Service information continued on attached page
 9
     2. SERVED BY UNITED STATES MAIL: On January 18, 2022, I served the following persons and/or
10   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
     and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
11   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
     completed no later than 24 hours after the document is filed.
                                                               Service information continued on attached page
12
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
13   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
     on January 18, 2022, I served the following persons and/or entities by personal delivery, overnight mail
14   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
     email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
15   mail to, the judge will be completed no later than 24 hours after the document is filed.

16   Via Overnight Mail
     The Honorable Sheri Bluebond                                             By email to:
17   United States Bankruptcy Court                                           - Eden Roc International, LLC
     Central District of California                                           - Escada Sourcing and Production LLC
18   Edward R. Roybal Federal Building and Courthouse                         - Mega International, LLC
     255 E. Temple Street, Suite 1534 / Courtroom 1539
19   Los Angeles, CA 90012

20                                                                           Service information continued on attached page

21   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
     true and correct.
22
      January 18, 2022                     Jason Klassi                                 /s/ Jason Klassi
23    Date                                   Type Name                                  Signature

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     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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 1 2:22-bk-10266 Notice will be electronically mailed to:
 2 John-Patrick M Fritz on behalf of Debtor Escada America, LLC
   jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
 3
   United States Trustee (LA)
 4 ustpregion16.la.ecf@usdoj.gov
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      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Escada 9277
20 Largest




717 GFC LLC                             Beverly Hills Wilshire Hotel                 SAMSON MANAGEMENT CORP.
Attn: Mrs.Tsui Yeung                    9500 WILSHIRE BLVD                           Attn.: Kathy Panaro
500 5th Avenue 54th Floor               BEVERLY HILLS, CA 90212                      97-77 QUEENS BLVD, SUITE 710
New York City, NY 10110                                                              REGO PARK, NY 11374

ty@jeffsutton.com                                                                    kpanaro@rosenyc.com
212.573.9001 fax 212.573.9173                                                        (212) 210-6753

Chicago Oak Street Partners, LLC        Alliant Insurance Services, Inc.             SPG HOUSTON HOLDINGS,LP
Attn: Lesley Pembroke                   701 B St 6th Floor                           PO Box 822693
1343 N. Wells Street, Rear Bldg.        San Diego, CA 92101                          PHILADELPHIA, PA 19182-2693
Chicago, IL 60610
                                        Emily.Quinlan@alliant.com                    317.263.3037
pmdcompany1343@gmail.com                415 946 7500
312.944.8200 fax: 312.944.8227

Las Vegas North Outlets, LLC            Ala Moana Anchor Acquisition, LLC            CHETRIT 1412 LLC
Attn: Marie Wood                        Attn: Lisa Gordon                            Attn: Nativ Winiarsky
875 South Grand Central Parkway, #1     PO Box 860375                                PO Box 785000
Las Vegas, NV 89106                     Minneapolis, MN 55486-0074                   PHILADELPHIA, PA 10018

Marie.Wood@simon.com                    Lisa.Gordon@brookfieldpropertiesretail.com   nwiniarsky@kuckermarino.com
317-685-7335                            818.693.1907                                 212.869.5030 fax 212.944.5818

Syzygy Performance GmbH                 Scottsdale Fashion Square LLC                Woodbury Common Premium Outlets
Osterwaldstra e 10                      Attn: Tamara Ortega                          Attn: Marie Wood
Munchen, Germany 80805-0000             PO Box 31001-2156                            PO Box 822884
                                        Pasadena, CA 91110-2156                      Philadelphia, PA 19182-2884
buchhaltung@catbirdseat.de
*+49 898 0991 1800                      Tamara.Ortega@macerich.com                   Marie.Wood@simon.com
                                        602.953.6328                                 317-685-7335

Premium Outlet Partners LP              Bal Harbour Shops LLLP                       METROPOLITAN TELECOMM.
Attn: Leslie C. Traylor                 Attn: Lorena Dehogues                        PO Box 9660
PO Box 822873                           9700 Collins Avenue                          MANCHESTER, NH 03108-9660
Philadelphia, PA 19182-2873             Bal Harbour, FL 33154
                                                                                     customerservice@mettel.net
Leslie.Traylor@simon.com                ld@whitmanfd.com                             866 625 2228
317-263-2315                            305.403.9249

AMERICAN EXPRESS                        Johnson Controls Security Solutions          Simon Property Group LP
PO Box 1270                             Attn: Virgil Guerra                          2696 Solution Center
NEWARK, NJ 07101-1270                   PO Box 371994                                Chicago, IL 60677-2006
                                        Pittsburgh, PA 15250-7994
AmericanExpress@welcome.aexp.com                                                     317-263-7071
800 528 2122                            virgilio.guerra@jci.com
                                        800-289-2647

Cushman and Wakefield                   Funaro & co., P.C.                            Sawgrass Mills Phase IV, L.L.C.
Attn: Kaleb McCullough                  Attn: Joseph M. Catalano
1290 Avenue of the Americas             350 Fifth Avenue, 41st Fl
                                                                                      c/o M.S. Management Associates Inc.,
New York, NY 10104                      New York, NY 10118                            225 W Washington St,
                                                                                      Indianapolis, IN 46204
kaleb.mccullough@cushwake.com           joe.catalano@funaro.com
314-391-6192                            (212) 273-5389 fax: (212) 947-4725
